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AO 93 (Rev. 11/13) Search and Seizure Warrant

UNITED STATES DISTRICT COURT
for the

District of Columbia

In the Matter of the Search of
(Briefly describe the property to be searched
or identify the person by name and address)

A ZTE CELLULAR PHONE, CURRENTLY
LOCATED AT 17 DC VILLAGE LANE SW,
WDC UNDER RULE 41

SEARCH AND SEIZURE WARRANT

Case No.  19-sw-337

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the - —___ Districtof Columbia

(identify the person or describe the property to be searched and give its location):

See Attachment A incorporated herein and included as part of the Application for a Search Warrant.

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

See Attachment B incorporated herein and included as part of the Affidavit.

YOU ARE COMMANDED to execute this warrant on or before October 2,2019 (not to exceed 14 days)
1 in the daytime 6:00 a.m. to 10:00 p.m. at any time in the day or night because good cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory

as required by law and promptly return this warrant and inventory to Robin M. Meriweather _
(United States Magistrate Judge)

 

 

1 Pursuant to 18 U.S.C. § 3103a(b), | find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)

O for ——_ days (not to exceed 30) + until, the facts justifying, the later specific date o

  

Date and time issued: _ 99/18/2019 12:00 pm

 

Robin M. Meriweather, United States Magistrate Judge

Printed name and title

City and state: Washington, D.C.
Case 1:19-C1- OF gO -RC Document 39-1 Filed 10/1 SaO Page 2 of 35

AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2)

 

Return

 

Case No.: Date and time warrant executed: Copy of warrant and inventory left with:
19-sw-337

 

 

 

Inventory made in the presence of :

 

Inventory of the property taken and name of any person(s) seized:

 

Certification

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

Date:

 

Executing officer's signature

 

Printed name and title

 

 

 
Case 1:19-cr-00390-RC Document 39-1 Filed 10/1640 Page 3 of 35

AO 106 (Rev. 04/10) Application fora Search We at

 

UNITED STATES DISTRICT COURT

for the
District of Columbia

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

A ZTE CELLULAR PHONE, CURRENTLY
LOCATED AT 17 DC VILLAGE LANE SW,
WDC UNDER RULE 41

APPLICATION FOR A SEARCH WARRANT

Case No. 19-sw-337

ee ee eS

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

See Attachment A incorporated herein and included as part of this Application for a Search Warrant.

located inthe | ___Districtof === Columbia - . there is now concealed (identify the

person or describe the property to be seized):

See Attachment B incorporated herein and included as part of the attached Affidavit.

The basis for the search under Fed. R. Crim. P. 41(c) ts (eheck one or more):
A evidence of a crime:
of contraband, fruits of crime, or other items illegally possessed;
property designed for use, intended for use, or used in committing a crime;

C1 a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description

18 U.S.C. § 1594 Sex Trafficking by Force, Fraud, or Coercion

The application is based on these facts:
See Attached Affidavit in Support of Search Warrant.

Mf Continued on the attached sheet.
O Delayed notice of _ days (give exact ending date ifmore than 30 days: —_s*d‘ is requiested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

 
 

Applicant’s signature

Thomas Sullivan, Detective, MPDC |

Printed name and title

Sworn to before me and signed in my presence.

Date: 09/18/2019

 

City and state: Washington, D.C. _ Robin M. Meriweather, United States Magistrate Judge _

Printed name and title
Case PASC OPBER-RC Document 39-1 Filed NON Page 4 of 35

ATTACHMENT A
Property to be searched
The property to be searched is a ZTE Cellular Phone, hereinafter the “Device.” The Device

is currently located at 17 DC Village Lane in Southwest Washington, DC.
Case 1:19-cr-O9@80-RC Document 39-1 Filed LOI fae Page 5 of 35

ATTACHMENT B
Property to be seized

The items, information, and data to be seized are fruits, evidence, information

relating to, contraband, or instrumentalities, in whatever form and however stored, relating to

violations of Title 18 US Code 1591, as described in the search warrant affidavit, including, but

not limited to:

a.

Records and information that constitute evidence of Michael Wilkins violating
Title 18 US Code 1591 by but not limited to the facilitation, promotion, recruitment,
management, furtherance, and/or intent to engage in the commercial sexual
exploitation of victims.

Records and information relating to the identity or location of perpetrators, aiders
and abettors, coconspirators, and accessories after the fact;

Records and information that constitute evidence of the state of mind Michael

Wilkins, e.g., intent, absence of mistake, or evidence indicating preparation or
planning, or knowledge and experience, related to the criminal activity under
investigation; and
Records and information that constitute evidence concerning persons who either (i)
collaborated, conspired, or assisted (knowingly or unknowingly) the commission
of the criminal activity under investigation; or (ii) communicated with Michael
Wilkins or other unknown co-conspirators about matters relating to the criminal
activity under investigation, including records that help reveal their whereabouts.
evidence of who used, owned, or controlled the Device(s) at the time the things

described in this warrant were created, edited, or deleted, such as logs, registry
Case 1:19-cr-OFaeO-RC Document 39-1 Filed 10/1 feaO Page 6 of 35

entries, configuration files, saved usernames and passwords, documents, browsing
history, user profiles, email, email contacts, chat, instant messaging logs,
photographs, and correspondence;

evidence of software, or the lack thereof, that would allow others to control the
Device(s), such as viruses, Trojan horses, and other forms of malicious software,
as well as evidence of the presence or absence of security software designed to
detect malicious software;

evidence of the attachment to the Device(s) of other storage devices or similar
containers for electronic evidence;

evidence of counter-forensic programs (and associated data) that are designed to
eliminate data from the Device(s);

evidence of the times the Device(s) was used;

passwords, encryption keys, and other access devices that may be necessary to
access the Device(s);

documentation and manuals that may be necessary to access the Device(s) or to
conduct a forensic examination of the Device(s);

records of or information about Internet Protocol addresses used by the Device(s);
and

. records of or information about the Device(s)’s Internet activity, including firewall
logs, caches, browser history and cookies, “bookmarked” or “favorite” web pages,
search terms that the user entered into any Internet search engine, and records of

user-typed web addresses.
Case 1:19-cr-O}880-RC Document 39-1 Filed 10/-1 ae Page 7 of 35

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

IN THE MATTER OF THE SEARCH OF

A ZTE CELLULAR PHONE, CURRENTLY
LOCATED AT 17 DC VILLAGE LANE SW,
WDC UNDER RULE 41

SW No.: 19-sw-337

 

AFFIDAVIT IN SUPPORT OF AN APPLICATION UNDER RULE 41
FOR A WARRANT TO SEARCH AND SEIZE

I, Thomas Sullivan, being first duly sworn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

l. I make this affidavit in support of an application under Rule 41 of the Federal
Rules of Criminal Procedure for a search warrant authorizing the examination of property — a
digital device which is currently in law enforcement possession (the “Device”), as described in
Attachment A, and the extraction from that property of electronically stored information as
described in Attachment B.

2. I am a Detective with Metropolitan Police of the District of Columbia since 2009.
1 have worked in the capacity of patrol officer, automobile theft investigator, child abuse
investigator, and currently as an investigator at the Federal Bureau of Investigation (FBI) Child
Exploitation and Human Trafficking Task Force. Your affiant has been deputized by the United
States Marshal Service as a Task Force Officer. Your affiant’s duties and responsibilities are to
investigate the sexual exploitation of children, to include child pornography and sex trafficking
of minors. Your affiant has gained experience in conducting such investigations through training

in seminars, classes, and everyday work related to these types of investigations.
Case 1:19-cr-00a@Q-RC Document 39-1 Filed 10/1 fama Page 8 of 35

3, As a federal agent, | am authorized to investigate violations of laws of the United
States, and as a law enforcement officer | am authorized to execute warrants issued under the
authority of the United States.

4. The facts in this affidavit come from my personal observations, my training and
experience, and information obtained from other agents, witnesses, and agencies. This affidavit
is intended to show merely that there is sufficient probable cause for the requested warrant. It
does not set forth all of my knowledge, or the knowledge of others, about this matter.

5. Based on my training and experience and the facts as set forth in this affidavit, |
respectfully submit that there is probable cause to believe that violations of Title 18 of United
States Code 1591 have been committed by Michael Wilkins. There is also probable cause to
search the Device(s), further described below and in Attachment A, for the things described in
Attachment B.

IDENTIFICATION OF THE DEVICE TO BE EXAMINED

6. The property to be searched is a ZTE Cellular Phone, that is, the Device.

7. The Device is currently located at 17 DC Village Lane in Southwest Washington,
DC.

PROBABLE CAUSE

8. Members of the Metropolitan Police of the District of Columbia (MPDC) and the
Federal Bureau of Investigation (FBI) Child Exploitation and Human Trafficking Task Force
(CEHTTF) have actively been investigating an area of Washington, DC known for street level
commercial sexual exploitation. This area stretches from the south at K Street Northwest to the

north at Rhode Island Avenue Northwest and from the east at 9th Street Northwest to the west at
Case 1:19-cr-O9@@0-RC Document 39-1 Filed 10/4 fate Page 9 of 35

l4th Street Northwest (herein: target area). The target area suffers from countless complaints
from the hours of 3:30 am to 8:00 am from individuals residing or working in the target area that
are primarily related to commercial sexual exploitation to include robberies, prostitution
complaints, disorderly calls, and violent assaults.

9. On August 7, 2019, at approximately 7:00 am a resident of the 1300 block of 12th
Street Northwest observed an assault in the rear of her home which was also captured by
surveillance footage. The reporting person advised that she had witnessed a male she believes is
a pimp attack a female she believes is a prostitute. The reporting person forwarded this
information and the surveillance footage to a member of MPDC’s Third District, and this
information was then forwarded to your affiant.

10. Your affiant reviewed the provided footage and observed a man known to your
affiant as Michael Jabaar Wilkins (herein, “WILKINS”) physically assault a female known to be
a prostitute (herein, “the complainant”) working in the target area. WILKINS is seen cornering
the complainant in the parking pad of a home in the 1300 block of 12th Street Northwest.
WILKINS then grabs the complainant’s arm as she attempts to move away from him, then
strikes her with an open hand, and follows this up by placing his hands on either side of the
complainant’s head and neck. WILKINS shakes the complainant’s head while holding his hands
around her head.

11. This assault is witnessed by another man known to your affiant as Amiyr Brown
(herein, “BROWN”) who is depicted in the surveillance video standing in close proximity to
WILKINS as he assaults the complainant. BROWN can be heard yelling at the complainant and

stating that she had looked at him while she was walking around. Your Affiant is aware from
Case 1:19-Cr-O0ABR-RC Document 39-1 Filed 10/1 6 fee Page 10 of 35

training and experience that for a prostitute working for a pimp to look another pimp in the eyes
is against the “rules” by which the prostitute must abide. The complainant denies that she looked
at BROWN, and states that she was talking to an “old trick” and that BROWN was wrong.

12. A third man known to your affiant as Gabriel Reachmack (herein,
“REACHMACK”) is depicted in the surveillance video walking up during this argument
between BROWN and the complainant and is heard telling WILKINS that the complainant had
embarrassed herself, and that “his ho is in the toilet” REACHMACK then mimics flushing
something down a toilet with his foot. REACHMACK additionally states that the complainant
had been looking at another pimp that was not hers.

13. BROWN, REACHMACK, and WILKINS are then shown leaving the area after
WILKINS had physically assaulted the complainant in two different vehicles. They leave the
complainant in the area. The complainant was contacted by MPDC Patrol Officers shortly after
the men left.

14. On July 26, 2019, members of the MPDC / FB] CEHTTF conducted surveillance
in the target area from the hours of 3:30 AM until 7:30 AM. During the course of the
surveillance the members observed WILKINS and BROWN standing in the 1300 block of 12th
Street Northwest with other men believed to be engaged in the facilitation of commercial sexual
acts. Additionally the members observed the complainant walking the target area during the
same hours engaged in what the members believed to be commercial sexual acts. The
complainant was observed standing with and talking with other women engaged in commercial

sexual acts.
Case 1:19-cr-004

  

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15. | The members were additionally able to observe the men leave the area with some
of the women engaged in commercial sex acts in the target area. WILKINS was observed at this
time picking up the complainant while he was driving a Cadillac Sedan with Virginia registration
of UWH-4045. WILKINS and the complainant were observed traveling out of the target area on
Rhode Island Avenue Northwest, then north on Lincoln Road Northeast.

16. Your affiant conducted a records search of open source and law enforcement
databases in an effort to determine the complainant’s identity. A photograph of the complainant
from July 26, 2019 surveillance operation was uploaded to facial recognition software which led
to a match for a female. The female was found to be a witness to an incident in Norfolk,
Virginia when WILKINS suffered a gunshot wound to his groin on June 12, 2019. This female
was identified as the complainant who had been assaulted by WILKINS on August 8, 2019 in
Washington, DC.

17. A phone number of (757) 752-3382 which is registered to T-Mobile was
identified as belonging to the complainant from an open source database search. This phone
number was searched in a database that compiles commercial sex advertisements and found that
this phone number was linked to six hundred and ninety one commercial sex advertisements
ranging from February | to August 10, 2019. These advertisements were linked to twenty three
cities to include Virginia Beach, Chesapeake, and Norfolk, Virginia, and Washington, DC.
Additionally an advertisement for the complainant was posted on June 12, 2019 in Norfolk,

Virginia.
Case 1:19-Cr-OO FRC Document 39-1 Filed 10/4 6a Page 12 of 35

18. A search of the social media website Instagram resulted in the identification of a
private Instagram account named thereal_luckycharm which featured a photograph of WILKINS
as the profile picture. A member of the CEHTTF searched a social media account used by a
known trafficker that has been assumed by law enforcement to locate any interactions between
WILKINS and a known trafficker. This search led to conversations between WATKINS and the
known trafficker were they engaged in banter using pimp slang terms. These terms are known
by your affiant to be used by individuals engaged in commercial sexual exploitation as pimps to
reinforce the culture and lifestyle of a pimp.

19. WILKINS provides a phone number of (757) 785-7182 which was found to be
registered with T-Mobile to the known trafficker via Instagram Direct Message. Your affiant
conducted a records search of this phone number and found that it had been used or identified as
belonging to WATKINS on several occasions.

20. Your affiant conducted a records search of law enforcement databases and open
source databases in an attempt to identify a history of contacts that WILKINS has had with law
enforcement. Your affiant found during this search that a witness had spoken to law
enforcement on September 9, 2017, and advised law enforcement that he had known WILKINS
since he was a child. The witness advised that WILKINS has a history of being involved in
narcotics distribution, and also advised that WILKINS is a pimp. The witness reported that
WILKINS had transported at least three women to Washington, DC to engage in prostitution,
and that he had been arrested in Virginia with one of these females. The witness advised that
this information was gathered from statements by WILKINS and by first-hand observations of

WILKINS.
Case 1:19-cr-O0 R68 RC Document 39-1 Filed 10/1 GAs Page 13 of 35

21. A search of historical contacts with WILKINS also led to an arrest of WILKINS
in Washington, DC on June 18, 2018 during the early morning hours. WILKINS was arrested
after being found operating a vehicle in DC without a permit to do so by members of MPDC’s
Third District.

22. | The members had observed the vehicle WILKINS was operating in the K Street
area of Washington, DC multiple times on June 18, 2018, driving around the known prostitution
area. The members had also witnessed the operator of the vehicle approach and speak with
known prostitutes in the area. The members also observed WILKINS commit a traffic offense in
the K Street area, and conducted a traffic stop which led to his arrest for “No Permit.” The
members who arrested WILKINS were familiar with him at the time, and were aware that he was
involved in the ongoing prostitution-related activity in the K Street area. The members therefore
seized a ZTE cellular phone as evidence of this activity, and this device has been in the custody
of MPDC’s Evidence Control Division since its seizure and transfer from the Third District’s
Property Office.

23. On September 10, 2019, members of MPDC’s Human Trafficking Unit (HTU)
were acting in an undercover capacity in the 2300 block of New York Avenue Northeast due to
complaints regarding prostitution activity in the area.

24. During the course of the operation, the undercover officer contacted the
complainant through an advertisement posted on a known prostitution website. The undercover
officer arranged to engage in sex acts with the complainant in exchange for money. The
undercover asked that the complainant come to the Fairfield Inn and Suites at 2305 New York

Avenue Northeast for the date on September 12, 2019, at 10:00 pm.
Case 1:19-Cr-OO BRR RC Document 39-1 Filed 10a Page 14 of 35

25. At approximately 10:58 pm, the complainant was observed being dropped off at
the Fairfield Inn and Suites by a Dodge Ram 1500 Conversion Van with Virginia Tags UTF-
1990. Members of HTU arrested the complainant shortly after for “Solicitation of Prostitution”
and transported her to the Fifth District for processing.

26. Members of HTU located the green van shortly after the complainant was
arrested, and conducted a traffic stop after the vehicle was observed idling at a gas station for an
extended amount of time. The members found that the driver of the vehicle was WILKINS, and
that there were no other occupants in the vehicle. WILKINS agreed to a search of his vehicle at
that time and several purses and female clothing wer located within the van. WILKINS was
released from the scene at that time, and was not advised that he had been observed transporting
the complainant to a prostitution date.

27. Your affiant knows that WILKINS has been actively engaged in the trafficking of
females for the purpose of prostitution since at least 2017. Your affiant believes that a search of
the device found on his person at the time of his arrest in June 2018 will provide additional
corroborating evidence of trafficking-related offenses, and will lead to the identification of other
females who have been trafficked by WILKINS.

28. The Device is currently in the lawful possession of the MPDC and stored at 17
DC Village Lane in Southwest Washington, DC. The Device came into the MPDC’s possession
in the following way: The device was seized incident to the arrest of WILKINS for “No Permit”
in Washington, DC. The device has been maintained in MPDC custody since it’s seizure by

MPDC members.
Case 1:19-cr-00288-RC Document 39-1 Filed 10/1 GR Page 15 of 35

TECHNICAL TERMS
29. Based on my training and experience, and information acquired from other law
enforcement officials with technical expertise, | know the terms described below have the
following meanings or characteristics:
a. “Digital device,” as used herein, includes the following three terms and
their respective definitions:

1) A “computer” means an electronic, magnetic, optical, or other high
speed data processing device performing logical or storage functions, and includes any data
storage facility or communications facility directly related to or operating in conjunction with
such device. See 18 U.S.C. § 1030(e)(1). Computers are physical units of equipment that
perform information processing using a binary system to represent information. Computers
include, but are not limited to, desktop and laptop computers, smartphones, tablets,
smartwatches, and binary data processing units used in the operation of other products like
automobiles.

2) “Digital storage media,” as used herein, means any information
storage device in which information is preserved in binary form and includes electrical, optical,
and magnetic digital storage devices. Examples of digital storage media include, but are not
limited to, compact disks, digital versatile disks (“DVDs”), USB flash drives, flash memory

cards, and internal and external hard drives.
Case 1:19-C1-O0#BRERC Document 39-1 Filed 10/1 Gf Page 16 of 35

3) “Computer hardware” means all equipment that can receive,
capture, collect, analyze, create, display, convert, store, conceal, or transmit electronic, magnetic,
or similar computer impulses or data. Computer hardware includes any data-processing devices
(including, but not limited to, central processing units, internal and peripheral storage devices
such as fixed disks, external hard drives, floppy disk drives and diskettes, and other memory
storage devices); peripheral input/output devices (including, but not limited to, keyboards,
printers, video display monitors, modems, routers, scanners, and related communications devices
such as cables and connections), as well as any devices, mechanisms, or parts that can be used to
restrict access to computer hardware (including, but not limited to, physical keys and locks).

b. “Wireless telephone” (or mobile telephone, or cellular telephone), a type
of digital device, is a handheld wireless device used for voice and data communication at least in
part through radio signals and also often through “wi-fi” networks. When communicating via
radio signals, these telephones send signals through networks of transmitters/receivers, enabling
communication with other wireless telephones, traditional “land line” telephones, computers, and
other digital devices. A wireless telephone usually contains a “call log,” which records the
telephone number, date, and time of calls made to and from the phone. In addition to enabling
voice communications, wireless telephones offer a broad range of applications and capabilities.
These include, variously: storing names and phone numbers in electronic “address books”;
sending, receiving, and storing text messages, e-mail, and other forms of messaging; taking,
sending, receiving, and storing still photographs and video; storing and playing back audio files;

storing dates, appointments, and other information on personal calendars; utilizing global

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Case 1:19-Cr-OO RBS RC Document 39-1 Filed 10/1 Gyan Page 17 of 35

positioning system (“GPS”) locating and tracking technology, and accessing and downloading
information from the Internet.

om A “tablet” is a mobile computer, typically larger than a wireless phone yet
smaller than a notebook, that is primarily operated by touch-screen. Like wireless phones,
tablets function as wireless communication devices and can be used to access the Internet or
other wired or wireless devices through cellular networks, “wi-fi” networks, or otherwise.
Tablets typically contain programs called applications (“apps”), which, like programs on both
wireless phones, as described above, and personal computers, perform many different functions
and save data associated with those functions.

d. A “GPS” navigation device, including certain wireless phones and tablets,
uses the Global Positioning System (generally abbreviated “GPS”) to display its current location,
and often retains records of its historical locations. Some GPS navigation devices can give a
user driving or walking directions to another location, and may contain records of the addresses
or locations involved in such historical navigation. The GPS consists of 24 NAVSTAR satellites
orbiting the Earth. Each satellite contains an extremely accurate clock. Each satellite repeatedly
transmits by radio a mathematical representation of the current time, combined with a special
sequence of numbers. These signals are sent by radio, using specifications that are publicly
available. A GPS antenna on Earth can receive those signals. When a GPS antenna receives
signals from at least four satellites, a computer connected to that antenna can mathematically

calculate the antenna’s latitude, longitude, and sometimes altitude with a high level of precision.

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Case 1:19-cr-O0;amiR-RC Document 39-1 Filed 10/1 Gt Page 18 of 35

e. “Computer passwords and data security devices” means information or
items designed to restrict access to or hide computer software, documentation, or data. Data
security devices may consist of hardware, software, or other programming code. A password (a
string of alpha-numeric characters) usually operates as a digital key to “unlock” particular data
security devices. Data security hardware may include encryption devices, chips, and circuit
boards. Data security software of digital code may include programming code that creates “test”
keys or “hot” keys, which perform certain pre-set security functions when touched. Data
security software or code may also encrypt, compress, hide, or “booby-trap” protected data to
make it inaccessible or unusable, as well as reverse the progress to restore it.

f. “Computer software” means digital information which can be interpreted
by a computer and any of its related components to direct the way they work. Computer
software is stored in electronic, magnetic, or other digital form. It commonly includes programs
to run operating systems, applications, and utilities.

g. Internet Protocol (“IP”) Address is a unique numeric address used by
digital devices on the Internet. An IP address, for present purposes, looks like a series of four
numbers, each in the range 0-255, separated by periods (e.g., 149.101.1.32). Every computer
attached to the Internet must be assigned an IP address so that Internet traffic sent from and
directed to that computer may be directed properly from its source to its destination. Most
Internet service providers control a range of IP addresses. Some computers have static—that is,

long-term—IP addresses, while other computers have dynamic—that is, frequently changed—IP

addresses.

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Case 1:19-cr-OO GRC Document 39-1 Filed 10/1 6faR Page 19 of 35

h. The “Internet” is a global network of computers and other electronic
devices that communicate with each other using numerous specified protocols. Due to the
structure of the Internet, connections between devices on the Internet often cross state and
international borders, even when the devices communicating with each other are in the same
state.

i. “Internet Service Providers,” or “ISPs,” are entities that provide
individuals and businesses access to the Internet. ISPs provide a range of functions for their
customers, including access to the Internet, web hosting, e-mail, remote storage, and co-location
of computers and other communications equipment. ISPs can offer a range of options in
providing access to the Internet, including via telephone-based dial-up and broadband access via
digital subscriber line (“DSL”), cable, dedicated circuits, fiber-optic, or satellite. ISPs typically
charge a fee based upon the type of connection and volume of data, called bandwidth, which the
connection supports. Many ISPs assign each subscriber an account name, a user name or screen
name, an e-mail address, an e-mail mailbox, and a personal password selected by the subscriber.
By using a modem, the subscriber can establish communication with an ISP and access the
Internet by using his or her account name and password.

l. “Domain Name” means the common, easy-to-remember names associated
with an IP address. For example, a domain name of “www.usdoj.gov” refers to the IP address of
149.101.1.32. Domain names are typically strings of alphanumeric characters, with each level
delimited by a period. Each level, read backwards — from right to left — further identifies parts of
an organization. Examples of first-level, or top-level domains are typically .com for commercial

organizations, .gov for the governmental organizations, .org for organizations, and .edu for

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educational organizations. Second-level names will further identify the organization, for
example usdoj.gov further identifies the United States governmental agency to be the
Department of Justice. Additional levels may exist as needed until each machine is uniquely
identifiable. For example, www.usdoj.gov identifies the World Wide Web server located at the
United States Department of Justice, which is part of the United States government.

m,. “Cache” means the text, image, and graphic files sent to and temporarily
stored by a user’s computer from a website accessed by the user in order to allow the user
speedier access to and interaction with that website in the future.

0. “VPN” means a virtual private network. A VPN extends a private
network across public networks like the Internet. It enables a host computer to send and receive
data across shared or public networks as if they were an integral part of a private network with
all the functionality, security, and management policies of the private network. This is done by
establishing a virtual point-to-point connection through the use of dedicated connections,
encryption, or a combination of the two. The VPN connection across the Internet is technically a
wide area network (WAN) link between the sites. From a user perspective, the extended
network resources are accessed in the same way as resources available from a private network-
hence the name “virtual private network.” The communication between two VPN endpoints is
encrypted and usually cannot be intercepted by law enforcement.

p. “Encryption” is the process of encoding messages or information in such a
way that eavesdroppers or hackers cannot read it but authorized parties can. In an encryption
scheme, the message or information, referred to as plaintext, is encrypted using an encryption

algorithm, turning it into an unreadable ciphertext. This is usually done with the use of an

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encryption key, which specifies how the message is to be encoded. Any unintended party that
can see the ciphertext should not be able to determine anything about the original message. An
authorized party, however, is able to decode the ciphertext using a decryption algorithm that
usually requires a secret decryption key, to which adversaries do not have access.

q. “Malware,” short for malicious (or malevolent) software, is software used
or programmed by attackers to disrupt computer operations, gather sensitive information, or gain
access to private computer systems. It can appear in the form of code, scripts, active content,
and other software. Malware is a general term used to refer to a variety of forms of hostile or
intrusive software.

29. Based on my training, experience, and research, and from consulting the
manufacturer’s advertisements and product technical specifications available online at
https://www.zteusa.com/products/all-phones, I know that the Device has capabilities that allow it
to serve as a wireless telephone, digital camera, portable media player, GPS navigation device,
and PDA. In my training and experience, examining data stored on devices of this type can
uncover, among other things, evidence that reveals or suggests who possessed or used the device,
and sometimes by implication who did not, as well as evidence relating to the commission of the
offense(s) under investigation.

COMPUTERS, ELECTRONIC/MAGNETIC STORAGE, AND FORENSIC ANALYSIS

30. | As described above and in Attachment B, this application seeks permission to
search for evidence, fruits, contraband, instrumentalities, and information that might be found
within the Device, in whatever form they are found. Based on my knowledge, training, and

experience, as well as information related to me by agents and others involved in this

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investigation and in the forensic examination of digital devices, | respectfully submit that there is
probable cause to believe that the records and information described in Attachment B will be
stored in the Device for at least the following reasons:

a. Individuals who engage in criminal activity, including involving human
trafficking, use digital devices, like the Device(s), to access websites to facilitate illegal activity
and to communicate with co-conspirators online; to store on digital devices, like the Device,
documents and records relating to their illegal activity, which can include logs of online chats
with co-conspirators; email correspondence; text or other “Short Message Service” (“SMS”)
messages; contact information of co-conspirators, including telephone numbers, email addresses,
identifiers for instant messaging and social medial accounts; stolen financial and personal
identification data, including bank account numbers, credit card numbers, and names, addresses,
telephone numbers, and social security numbers of other individuals; and records of illegal
transactions using stolen financial and personal identification data, to, among other things, (1)
keep track of co-conspirator’s contact information; (2) keep a record of illegal transactions for
future reference; (3) keep an accounting of illegal proceeds for purposes of, among other things,
splitting those proceeds with co-conspirators; and (4) store stolen data for future exploitation.]

b. Individuals who engage in the foregoing criminal activity, in the event that
they change digital devices, will often “back up” or transfer files from their old digital devices to
that of their new digital devices, so as not to lose data, including that described in the foregoing

paragraph, which would be valuable in facilitating their criminal activity.

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c. Digital device files, or remnants of such files, can be recovered months or
even many years after they have been downloaded onto the medium or device, deleted, or
viewed via the Internet. Electronic files downloaded to a digital device can be stored for years at
little or no cost. Even when such files have been deleted, they can be recovered months or years
later using readily-available forensics tools. When a person “deletes” a file on a digital device
such as a home computer, a smart phone, or a memory card, the data contained in the file does
not actually disappear; rather, that data remains on the storage medium and within the device
unless and until it is overwritten by new data. Therefore, deleted files, or remnants of deleted
files, may reside in free space or slack space — that is, in space on the digital device that is not
allocated to an active file or that is unused after a file has been allocated to a set block of storage
space — for long periods of time before they are overwritten. In addition, a digital device’s
operating system may also keep a record of deleted data in a “swap” or “recovery” file.
Similarly, files that have been viewed via the Internet are automatically downloaded into a
temporary Internet directory or “cache.” The browser typically maintains a fixed amount of
electronic storage medium space devoted to these files, and the files are only overwritten as they
are replaced with more recently viewed Internet pages. Thus, the ability to retrieve “residue” of
an electronic file from a digital device depends less on when the file was downloaded or viewed
than on a particular user’s operating system, storage capacity, and computer, smart phone, or

other digital device habits.
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31. As further described in Attachment B, this application seeks permission to locate
not only electronic evidence or information that might serve as direct evidence of the crimes
described in this affidavit, but also for forensic electronic evidence or information that
establishes how the digital device(s) were used, the purpose of their use, who used them (or did
not), and when. Based on my knowledge, training, and experience, as well as information
related to me by agents and others involved in this investigation and in the forensic examination
of digital devices, | respectfully submit there is probable cause to believe that this forensic
electronic evidence and information will be in any of the Device(s) at issue here because:

a. Although some of the records called for by this warrant might be found in
the form of user-generated documents or records (such as word processing, picture, movie, or
texting files), digital devices can contain other forms of electronic evidence as well. In
particular, records of how a digital device has been used, what it has been used for, who has used
it, and who has been responsible for creating or maintaining records, documents, programs,
applications, and materials contained on the digital device(s) are, as described further in the
attachments, called for by this warrant. Those records will not always be found in digital data
that is neatly segregable from the hard drive, flash drive, memory card, or other electronic
storage media image as a whole. Digital data stored in the Device(s), not currently associated
with any file, can provide evidence of a file that was once on the storage medium but has since
been deleted or edited, or of a deleted portion of a file (such as a paragraph that has been deleted
from a word processing file). Virtual memory paging systems can leave digital data on a hard
drive that show what tasks and processes on a digital device were recently used. Web browsers,

e-mail programs, and chat programs often store configuration data on a hard drive, flash drive,

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memory card, or memory chip that can reveal information such as online nicknames and
passwords. Operating systems can record additional data, such as the attachment of peripherals,
the attachment of USB flash storage devices, and the times a computer, smart phone, or other
digital device was in use. Computer, smart phone, and other digital device file systems can
record data about the dates files were created and the sequence in which they were created. This
data can be evidence of a crime, indicate the identity of the user of the digital device, or point
toward the existence of evidence in other locations. Recovery of this data requires specialized
tools and a controlled laboratory environment, and also can require substantial time.

b. Forensic evidence on a digital device can also indicate who has used or
controlled the device. This “user attribution” evidence is analogous to the search for “indicia of
occupancy” while executing a search warrant at a residence. For example, registry information,
configuration files, user profiles, e-mail, e-mail address books, chats, instant messaging logs,
photographs, the presence or absence of malware, and correspondence (and the data associated
with the foregoing, such as file creation and last-accessed dates) may be evidence of who used or
controlled the digital device at a relevant time, and potentially who did not.

c. A person with appropriate familiarity with how a digital device works can,
after examining this forensic evidence in its proper context, draw conclusions about how such
digital devices were used, the purpose of their use, who used them, and when.

d. The process of identifying the exact files, blocks, registry entries, logs, or
other forms of forensic evidence on a digital device that are necessary to draw an accurate
conclusion is a dynamic process. While it is possible to specify in advance the records to be

sought, digital device evidence is not always data that can be merely reviewed by a review team

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and passed along to investigators. Whether data stored on digital devices is evidence may
depend on other information stored on the devices and the application of knowledge about how
the devices behave. Therefore, contextual information necessary to understand other evidence
also falls within the scope of the warrant.

€. Further, in finding evidence of how a digital device was used, the purpose
of its use, who used it, and when, sometimes it is necessary to establish that a particular thing is
not present on the device. For example, the presence or absence of counter-forensic programs,
anti-virus programs (and associated data), and malware may be relevant to establishing the user’s
intent and the identity of the user.

f. 1 know that when an individual uses a digital device to facilitate, further,
and/or promote human trafficking, the individual’s device will generally serve both as an
instrumentality for committing the crime, and also as a storage medium for evidence of the
crime. The digital device is an instrumentality of the crime because it is used as a means of
committing the criminal offense. The digital device is also likely to be a storage medium for
evidence of crime. From my training and experience, | believe that a digital device used to
commit a crime of this type may contain data that is evidence of how the digital device was used;
data that was sent or received; notes as to how the criminal conduct was achieved; records of
Internet discussions about the crime; and other records that indicate the nature of the offense and

the identities of those perpetrating it.

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METHODS TO BE USED TO SEARCH DIGITAL DEVICES
32. Based on my knowledge, training, and experience, as well as information related
to me by agents and others involved in this investigation and in the forensic examination of
digital devices, I know that:

a. Searching digital devices can be an extremely technical process, often
requiring specific expertise, specialized equipment, and substantial amounts of time, in part
because there are so many types of digital devices and software programs in use today. Digital
devices — whether, for example, desktop computers, mobile devices, or portable storage devices
— may be customized with a vast array of software applications, each generating a particular form
of information or records and each often requiring unique forensic tools, techniques, and
expertise. As a result, it may be necessary to consult with specially trained personnel who have
specific expertise in the types of digital devices, operating systems, or software applications that
are being searched, and to obtain specialized hardware and software solutions to meet the needs
of a particular forensic analysis.

b. Digital data is particularly vulnerable to inadvertent or intentional
modification or destruction. Searching digital devices can require the use of precise, scientific
procedures that are designed to maintain the integrity of digital data and to recover “hidden,”
erased, compressed, encrypted, or password-protected data. Recovery of “residue” of electronic
files from digital devices also requires specialized tools and often substantial time. As a result, a
controlled environment, such as a law enforcement laboratory or similar facility, is often

essential to conducting a complete and accurate analysis of data stored on digital devices.

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C. Further, as discussed above, evidence of how a digital device has been
used, the purposes for which it has been used, and who has used it, may be reflected in the
absence of particular data on a digital device. For example, to rebut a claim that the owner of a
digital device was not responsible for a particular use because the device was being controlled
remotely by malicious software, it may be necessary to show that malicious software that allows
someone else to control the digital device remotely is not present on the digital device. Evidence
of the absence of particular data or software on a digital device is not segregable from the digital
device itself. Analysis of the digital device as a whole to demonstrate the absence of particular
data or software requires specialized tools and a controlled laboratory environment, and can
require substantial time.

d. Digital device users can attempt to conceal data within digital devices
through a number of methods, including the use of innocuous or misleading filenames and
extensions. For example, files with the extension “jpg” often are image files; however, a user
can easily change the extension to “.txt” to conceal the image and make it appear as though the
file contains text. Digital device users can also attempt to conceal data by using encryption,
which means that a password or device, such as a “dongle” or “keycard,” is necessary to decrypt
the data into readable form. Digital device users may encode communications or files, including
substituting innocuous terms for incriminating terms or deliberately misspelling words, thereby
thwarting “keyword” search techniques and necessitating continuous modification of keyword
terms. Moreover, certain file formats, like portable document format (“PDF”), do not lend
themselves to keyword searches. Some applications for computers, smart phones, and other

digital devices, do not store data as searchable text; rather, the data is saved in a proprietary non-

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text format. Documents printed by a computer, even if the document was never saved to the
hard drive, are recoverable by forensic examiners but not discoverable by keyword searches
because the printed document is stored by the computer as a graphic image and not as text. In
addition, digital device users can conceal data within another seemingly unrelated and innocuous
file in a process called “steganography.” For example, by using steganography, a digital device
user can conceal text in an image file that cannot be viewed when the image file is opened.
Digital devices may also contain “booby traps” that destroy or alter data if certain procedures are
not scrupulously followed. A substantial amount of time is necessary to extract and sort through
data that is concealed, encrypted, or subject to booby traps, to determine whether it is evidence,
contraband, or instrumentalities of a crime.

€. Analyzing the contents of mobile devices, including tablets, can be very
labor intensive and also requires special technical skills, equipment, and software. The large,
and ever increasing, number and variety of available mobile device applications generate unique
forms of data, in different formats, and user information, all of which present formidable and
sometimes novel forensic challenges to investigators that cannot be anticipated before
examination of the device. Additionally, most smart phones and other mobile devices require
passwords for access. For example, even older iPhone 4 models, running IOS 7, deployed a type
of sophisticated encryption known as “AES-256 encryption” to secure and encrypt the operating
system and application data, which could only be bypassed with a numeric passcode. Newer cell
phones employ equally sophisticated encryption along with alpha-numeric passcodes, rendering
most smart phones inaccessible without highly sophisticated forensic tools and techniques, or

assistance from the phone manufacturer. Mobile devices used by individuals engaged in

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criminal activity are often further protected and encrypted by one or more third party
applications, of which there are many. For example, one such mobile application, “Hide It Pro,”
disguises itself as an audio application, allows users to hide pictures and documents, and offers
the same sophisticated AES-256 encryption for all data stored within the database in the mobile
device.

f. Based on all of the foregoing, I respectfully submit that searching any
digital device for the information, records, or evidence pursuant to this warrant may require a
wide array of electronic data analysis techniques and may take weeks or months to complete.
Any pre-defined search protocol would only inevitably result in over- or under-inclusive
searches, and misdirected time and effort, as forensic examiners encounter technological and
user-created challenges, content, and software applications that cannot be anticipated in advance
of the forensic examination of the devices. In light of these difficulties, your affiant requests
permission to use whatever data analysis techniques reasonably appear to be necessary to locate
and retrieve digital information, records, or evidence within the scope of this warrant.

33. In searching for information, records, or evidence, further described in
Attachment B, law enforcement personnel executing this search warrant will employ the
following procedures:

a. The digital devices, and/or any digital images thereof created by law
enforcement, sometimes with the aid of a technical expert, in an appropriate setting, in aid of the
examination and review, will be examined and reviewed in order to extract and seize the

information, records, or evidence described in Attachment B.

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b. The analysis of the contents of the digital devices may entail any or all of
various forensic techniques as circumstances warrant. Such techniques may include, but shall
not be limited to, surveying various file “directories” and the individual files they contain
(analogous to looking at the outside of a file cabinet for the markings it contains and opening a
drawer believed to contain pertinent files); conducting a file-by-file review by “opening,”
reviewing, or reading the images or first few “pages” of such files in order to determine their
precise contents; “scanning” storage areas to discover and possibly recover recently deleted data;
scanning storage areas for deliberately hidden files; and performing electronic “keyword”
searches through all electronic storage areas to determine whether occurrences of language
contained in such storage areas exist that are related to the subject matter of the investigation.

c. In searching the digital devices, the forensic examiners may examine as
much of the contents of the digital devices as deemed necessary to make a determination as to
whether the contents fall within the items to be seized as set forth in Attachment B. In addition,
the forensic examiners may search for and attempt to recover “deleted,” “hidden,” or encrypted
data to determine whether the contents fall within the items to be seized as described in
Attachment B. Any search techniques or protocols used in searching the contents of the
Device(s) will be specifically chosen to identify the specific items to be seized under this

warrant.

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AUTHORIZATION TO SEARCH AT ANY TIME OF THE DAY OR NIGHT
14. Because forensic examiners will be conducting their search of the digital devices
in a law enforcement setting over a potentially prolonged period of time, | respectfully submit
that good cause has been shown, and therefore request authority, to conduct the search at any
time of the day or night.
CONCLUSION
15. | submit that this affidavit supports probable cause for a warrant to search the

Device described in Attachment A and to seize the items described in Attachment B.

Respectfully submitted,

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A ee _@ de
Ee
Thomas Suftvan
Task Force Officer
MPDC
Subscribed and sworn to before me on September 18, 2019

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UNITED STATES MACISTRATE JUDGE

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ATTACHMENT A
Property to be searched
The property to be searched is a ZTE Cellular Phone, hereinafter the “Device.” The Device

is currently located at 17 DC Village Lane in Southwest Washington, DC.
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ATTACHMENT B
Property to be seized

The items, information, and data to be seized are fruits, evidence, information

relating to, contraband, or instrumentalities, in whatever form and however stored, relating to

violations of Title 18 US Code 1591, as described in the search warrant affidavit, including, but

not limited to:

a.

Records and information that constitute evidence of Michael Wilkins violating
Title 18 US Code 1591 by but not limited to the facilitation, promotion, recruitment,
management, furtherance, and/or intent to engage in the commercial sexual
exploitation of victims.

Records and information relating to the identity or location of perpetrators, aiders
and abettors, coconspirators, and accessories after the fact;

Records and information that constitute evidence of the state of mind Michael
Wilkins, e.g., intent, absence of mistake, or evidence indicating preparation or
planning, or knowledge and experience, related to the criminal activity under
investigation; and

Records and information that constitute evidence concerning persons who either (i)
collaborated, conspired, or assisted (knowingly or unknowingly) the commission
of the criminal activity under investigation; or (ii) communicated with Michael
Wilkins or other unknown co-conspirators about matters relating to the criminal
activity under investigation, including records that help reveal their whereabouts.
evidence of who used, owned, or controlled the Device(s) at the time the things

described in this warrant were created, edited, or deleted, such as logs, registry
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entries, configuration files, saved usernames and passwords, documents, browsing

history, user profiles, email, email contacts, chat, instant messaging logs,

photographs, and correspondence;

f. evidence of software, or the lack thereof, that would allow others to control the

Device(s), such as viruses, Trojan horses, and other forms of malicious software,

as well as evidence of the presence or absence of security software designed to

detect malicious software;

g. evidence of the attachment to the Device(s) of other storage devices or similar

containers for electronic evidence;

h. evidence of counter-forensic programs (and associated data) that are designed to

eliminate data from the Device(s);

i. evidence of the times the Device(s) was used;

j. passwords, encryption keys, and other access devices that may be necessary to

access the Device(s);

k. documentation and manuals that may be necessary to access the Device(s) or to

conduct a forensic examination of the Device(s);

l. records of or information about Internet Protocol addresses used by the Device(s);

and

m. records of or information about the Device(s)’s Internet activity, including firewall

logs, caches, browser history and cookies, “bookmarked” or “favorite” web pages,

search terms that the user entered into any Internet search engine, and records of

user-typed web addresses.
